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                                UNITED STATES DISTRICT COURT
 5
                                        DISTRICT OF NEVADA
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 7   ANGELA DAWN DOWLING,
                                                            Case No. 2:24-cv-01101-GMN-NJK
 8          Plaintiff(s),
                                                         REPORT AND RECOMMENDATION
 9   v.
10   HOOVER SLOVACEK LLP LAW,
11          Defendant(s).
12         Pending before the Court is an order for Plaintiff to show cause why this case should not
13 be dismissed for lack of subject matter jurisdiction. Docket No. 3. Although the Court thereafter
14 received a notice from Plaintiff, Docket No. 4, the Court has not received a response addressing
15 the jurisdictional issues raised in the order to show cause.1
16         The Court has a duty to ensure that it has subject matter jurisdiction over the dispute before
17 it, an issue it may raise at any time during the proceedings. See, e.g., Fed. R. Civ. P. 12(h)(3).
18 Federal courts are courts of limited jurisdiction and possess only that power authorized by the
19 Constitution and statute. See Rasul v. Bush, 542 U.S. 466, 489 (2004). “A federal court is
20 presumed to lack jurisdiction in a particular case unless the contrary affirmatively appears.” Stock
21 West, Inc. v. Confederated Tribes of the Colville Reservation, 873 F.2d 1221, 1225 (9th Cir. 1989).
22 “The party asserting federal jurisdiction bears the burden of proving that the case is properly in
23 federal court.” McCauley v. Ford Motor Co., 264 F.3d 952, 957 (9th Cir. 2001) (citing McNutt v.
24 General Motors Acceptance Corp., 298 U.S. 178, 189 (1936)).
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             The Court liberally construes the filings of pro se litigants. Erickson v. Pardus, 551 U.S.
28 89, 94 (2007).

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 1         Plaintiff has not established subject matter jurisdiction. The complaint specifies that the
 2 Court’s jurisdiction is predicated on the existence of a federal question, Docket No. 1-1 at 3, but
 3 the complaint then leaves blank the section of the complaint requiring the identification of the
 4 specific federal statute, treaty, or constitutional provision at issue in the case, see id. Moreover,
 5 the complaint does not clearly identify the claim(s) that Plaintiff is bringing nor the factual basis
 6 on which such claims are founded. But see Fed. R. Civ. P. 8(a)(1) (requiring complaints to include
 7 a short, plain statement). Lastly, Plaintiff did not provide any response to the order to show cause
 8 specifying a basis on which this Court can exercise subject matter jurisdiction over this case.
 9         Accordingly, the undersigned RECOMMENDS that this case be DISMISSED for lack of
10 subject matter jurisdiction.
11         Dated: July 12, 2024
12                                                               ______________________________
                                                                 Nancy J. Koppe
13                                                               United States Magistrate Judge
14
15                                              NOTICE
16         This report and recommendation is submitted to the United States District Judge assigned
17 to this case pursuant to 28 U.S.C. § 636(b)(1).         A party who objects to this report and
18 recommendation must file a written objection supported by points and authorities within fourteen
19 days of being served with this report and recommendation. Local Rule IB 3-2(a). Failure to file
20 a timely objection may waive the right to appeal the district court’s order. Martinez v. Ylst, 951
21 F.2d 1153, 1157 (9th Cir. 1991).
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